Case 3:15-cr-00612-PAD         Document 111       Filed 05/13/16     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                                CRIMINAL NO. 15-612 (PAD)

 LAYDY MAR FELICIANO-MIRANDA [5],

         Defendant.


                                            ORDER

       The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Bruce J. McGiverin regarding the Rule 11 proceeding of defendant, Laydy Mar Feliciano-Miranda

(Docket No. 109), to which no objections have been filed. The court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Count Fourteen of the indictment.

       The court notes that a Presentence Investigation Report was ordered (Docket No. 108).

The parties shall file their sentencing memoranda not later than July 1, 2016. The Sentencing

Hearing is set for July 22, 2016 at 10:30 a.m. in Courtroom 3.

       SO ORDERED.

       In San Juan, Puerto Rico, this 13th day of May, 2016.

                                                    S/Pedro A. Delgado-Hernández
                                                    PEDRO A. DELGADO HERNANDEZ
                                                    United States District Judge
